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 6
 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9

10
      UNITED STATES OF AMERICA,

11
                    Plaintiff,                                Case No. CR06-41RSL

12
             vs.
                                                              ORDER AFFIRMING MAGISTRATE
13
      RICHARD ALLEN FABEL,                                    JUDGE’S DETENTION ORDER

14
                    Defendant.

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           This matter comes before the Court on defendant’s “Motion to Review Order of

18
     Detention” (Dkt. # 86). The Honorable James P. Donohue, United States Magistrate Judge,

19
     issued the April 10, 2006 detention order after determining that defendant posed a danger to the

20
     community.

21
           The Court has reviewed the transcript of the February 16, 2006 detention hearing before

22
     the Honorable Cynthia Imbrogno, United States Magistrate Judge in Spokane; defendant’s

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     motion for revocation of the detention order; the Government’s opposition to revocation of the

24
     detention order; the recorded April 10, 2006 detention hearing before Judge Donohue and the

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     remainder of the record. It considers de novo the detention order issued by Judge Donohue.

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     U.S. v. Koenig, 912 F.2d 1190, 1191 (9th Cir. 1990).

27
     ORDER AFFIRMING MAGISTRATE
28   JUDGE’S DETENTION ORDER - 1
            Case 2:06-cr-00041-RSL        Document 120       Filed 06/19/06     Page 2 of 2



 1          The Court will detain defendant prior to trial if it determines “that no condition or
 2   combination of conditions will reasonably assure . . . the safety of any other person and the
 3   community.” 18 U.S.C. § 3142(e). Pursuant to 18 U.S.C. § 3142(g), the Court considers four
 4   factors when deciding if defendant is a danger to the community: “(1) [t]he nature and
 5   circumstances of the offense charged . . . (2) the weight of the evidence against the person; (3)
 6   the history and characteristics of the person . . . (4) the nature and seriousness of the danger to
 7   any person or the community that would be posed by the person’s release.” The Government
 8   bears the burden of establishing “by clear and convincing evidence that the defendant poses a
 9   danger to the community.” United States v. Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991).
10           The Court finds by clear and convincing evidence that defendant poses a danger to the
11   community. Defendant is charged with numerous crimes including racketeering, conspiracy to
12   murder in aid of racketeering, murder in aid of racketeering and witness tampering. Although
13   the Government has indicated that it does not intend to seek the death penalty, defendant’s
14   murder count is a capital crime. As President of the Washington Nomads Chapter of the Hells
15   Angels Motorcycle Club and West Coast Regional President of the Hells Angels, the defendant
16   has a great deal of power to cause intimidation of witnesses. His recent arrest in Spokane led to
17   the discovery of dangerous weapons in his residence, including loaded firearms. These facts
18   clearly demonstrate that defendant poses a significant risk to individuals involved in this trial
19   and to the community at large.
20          For all of the foregoing reasons, defendant’s “Motion to Review Order of Detention”
21   (Dkt. #86) is DENIED.
22          DATED this 19th day of June, 2006.
23

24                                              A
25                                              Robert S. Lasnik
                                                United States District Judge
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     ORDER AFFIRMING MAGISTRATE
28   JUDGE’S DETENTION ORDER - 2
